29 F.3d 637
    NOTICE: Ninth Circuit Rule 36-3 provides that dispositions other than opinions or orders designated for publication are not precedential and should not be cited except when relevant under the doctrines of law of the case, res judicata, or collateral estoppel.UNITED STATES of America, Plaintiff-Appellee,v.Juan Antonio RODRIGUEZ-ESQUIVEL, Defendant-Appellant.
    No. 93-50352.
    United States Court of Appeals, Ninth Circuit.
    Submitted March 11, 1994.*Decided June 22, 1994.
    
      Before:  WALLACE, Chief Judge, FARRIS and KLEINFELD, Circuit Judges.
    
    MEMORANDUM
    
      1
      Rodriguez-Esquivel appeals from his judgment of conviction following his sentence of 77 months' imprisonment as a result of his guilty plea to being present in the United States after prior deportations in violation of 8 U.S.C. Sec. 1326(a), (b)(1), (b)(2).  The district court had jurisdiction pursuant to 18 U.S.C. Sec. 3231.  We have jurisdiction over this timely appeal pursuant to 18 U.S.C. Sec. 3742.  We affirm.
    
    
      2
      Upon deportation, Rodriguez-Esquivel was given Immigration and Naturalization Service Form I-294 which stated that if he returned illegally he would be subject to no more than two years' imprisonment, although the statutory maximum sentence had been increased to 15 years' imprisonment.  Rodriguez-Esquivel argues that the district court should have applied the due process doctrine of fair notice to estop the government from seeking more than a two year sentence.  His argument is foreclosed by United States v. Ullyses-Salazar, No. 93-50144, slip op. 6543 (9th Cir.  June 20, 1994), which held that the due process doctrine of fair notice does not estop the government from seeking a sentence exceeding two years, despite the contents of Form I-294.
    
    
      3
      Rodriguez-Esquivel also argues that the district court had the authority to depart from the Sentencing Guidelines based on the situation presented by the erroneous information in Form I-294.  We review de novo whether a district court lacked authority to depart.   United States v. Williams, 978 F.2d 1133, 1136 (9th Cir.1992).  Our decision in Ullyses-Salazar makes it clear that the district court did not have the authority to depart.  Slip op. at 6552-53.
    
    
      4
      AFFIRMED.
    
    
      5
      Note:  This disposition is not appropriate for publication and may not be cited to or by the courts of this circuit except as provided by Ninth Circuit Rule 36-3.
    
    
      
        *
         The panel unanimously finds this case suitable for decision without oral argument.  Fed.R.App.P. 34(a) and Ninth Circuit Rule 34-4
      
    
    